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                                   UNITED STATES DISTRICT COURT
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                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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12    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
13                                                      [PROPOSED] ORDER GRANTING
             Plaintiffs,                                MOTION TO SEAL
14
             v.                                         Judge: Hon. Susan van Keulen, USMJ
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      GOOGLE LLC,
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             Defendant.
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                                                   -1-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR         Document 718-2       Filed 06/16/22     Page 2 of 3



                                         [PROPOSED] ORDER
 1
            Before the Court is Google LLC’s Administrative Motion to Seal portions of Google’s
 2
     Supplement to Administrative Motion for Clarification of June 12, 2022 Discovery Order (Dkt. 700)
 3
     and the proposed order related to Google’s Supplement (the “Motion”). Having considered the
 4
     Motion, supporting declaration, and other papers on file, and good cause having been found, the
 5
     Court ORDERS as follows:
 6
           Document             Text To Be Sealed           Basis for Sealing Portion of Document
 7
       Google’s              Page 2 Lines 10, 13, 17,    The information requested to be sealed
 8     Supplement            19, 22                      contains Google’s highly confidential and
                                                         proprietary information regarding highly
 9                                                       sensitive features of Google’s internal
                                                         systems and operations, including logs, and
10                                                       their proprietary functionalities, that Google
11                                                       maintains as confidential in the ordinary
                                                         course of its business and is not generally
12                                                       known to the public or Google’s competitors.
                                                         Such confidential and proprietary
13                                                       information reveals Google’s internal
                                                         strategies, system designs, and business
14                                                       practices for operating and maintaining many
15                                                       of its important services, and falls within the
                                                         protected scope of the Protective Order
16                                                       entered in this action. See Dkt. 61 at 2-3.
                                                         Public disclosure of such confidential and
17                                                       proprietary information could affect Google’s
                                                         competitive standing as competitors may
18                                                       alter their systems and practices relating to
19                                                       competing products. It may also place
                                                         Google at an increased risk of cybersecurity
20                                                       threats, as third parties may seek to use the
                                                         information to compromise Google’s internal
21                                                       practices relating to competing products.
       Proposed Order        Page 1 Lines 7, 10          The information requested to be sealed
22
                                                         contains Google’s highly confidential and
23                                                       proprietary information regarding highly
                                                         sensitive features of Google’s internal
24                                                       systems and operations, including logs, and
                                                         their proprietary functionalities, that Google
25                                                       maintains as confidential in the ordinary
                                                         course of its business and is not generally
26
                                                         known to the public or Google’s competitors.
27                                                       Such confidential and proprietary
                                                         information reveals Google’s internal
28                                                       strategies, system designs, and business
                                                  -2-               Case No. 4:20-cv-5146-YGR-SVK
                                     [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
       Case 4:20-cv-05146-YGR   Document 718-2     Filed 06/16/22     Page 3 of 3



                                                   practices for operating and maintaining many
  1
                                                   of its important services, and falls within the
  2                                                protected scope of the Protective Order
                                                   entered in this action. See Dkt. 61 at 2-3.
  3                                                Public disclosure of such confidential and
                                                   proprietary information could affect Google’s
  4                                                competitive standing as competitors may
                                                   alter their systems and practices relating to
  5
                                                   competing products. It may also place
  6                                                Google at an increased risk of cybersecurity
                                                   threats, as third parties may seek to use the
  7                                                information to compromise Google’s internal
                                                   practices relating to competing products.
  8

  9          SO ORDERED.
 10

 11 DATED: ___________________                    _______________________________
                                                  HON. SUSAN VAN KEULEN
2812                                              UNITED STATES MAGISTRATE JUDGE
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                                              -3-               Case No. 4:20-cv-5146-YGR-SVK
                                 [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
